AO 450 (R ev. 5/85) Judgment in a C ivil C ase q




                                       United States District Court
                                                   EASTERN DISTRICT OF WISCONSIN

JAMES G. HANSEN,

                          Plaintiff,
                                                                       JUDGMENT IN A CIVIL CASE
             v.
                                                                              Case No. 12-C-32
FINCANTIERI MARINE GROUP, LLC.
and MARINETTE MARINE CORPORATION,

                          Defendants.


:            Jury Verdict. This action came before the Court for a trial by jury. The issues have
             been tried and the jury has rendered its verdict.

9            Decision by Court. This action came before the Court for consideration.

       IT IS HEREBY ORDERED AND ADJUDGED that all claims of Plaintiff James G.
Hansen against Defendants Fincantieri Marine Group, LLC. and Marinette Marine Corporation are
dismissed with prejudice.




                                                    Approved:   s/ William C. Griesbach
                                                                William C. Griesbach, Chief Judge
                                                                United States District Court


             Dated: March 4, 2015.

                                                                JON W. SANFILIPPO
                                                                Clerk of Court

                                                                s/ Mary E. Conard
                                                                (By) Deputy Clerk




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